4:13-bk-12806 Doc#: 5 Filed: 05/14/13 Entered: 05/14/13 09:49:00 Page 1 of 10
4:13-bk-12806 Doc#: 5 Filed: 05/14/13 Entered: 05/14/13 09:49:00 Page 2 of 10
4:13-bk-12806 Doc#: 5 Filed: 05/14/13 Entered: 05/14/13 09:49:00 Page 3 of 10
4:13-bk-12806 Doc#: 5 Filed: 05/14/13 Entered: 05/14/13 09:49:00 Page 4 of 10
4:13-bk-12806 Doc#: 5 Filed: 05/14/13 Entered: 05/14/13 09:49:00 Page 5 of 10
4:13-bk-12806 Doc#: 5 Filed: 05/14/13 Entered: 05/14/13 09:49:00 Page 6 of 10
4:13-bk-12806 Doc#: 5 Filed: 05/14/13 Entered: 05/14/13 09:49:00 Page 7 of 10
4:13-bk-12806 Doc#: 5 Filed: 05/14/13 Entered: 05/14/13 09:49:00 Page 8 of 10
4:13-bk-12806 Doc#: 5 Filed: 05/14/13 Entered: 05/14/13 09:49:00 Page 9 of 10
4:13-bk-12806 Doc#: 5 Filed: 05/14/13 Entered: 05/14/13 09:49:00 Page 10 of 10
